   Case 4:22-cr-00612 Document 295-1 Filed on 06/09/23 in TXSD Page 1 of 1




                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA               §
                                       §
      v.                               §      Case No. 4:22-cr-612
                                       §
CONSTANTINESCU, et al.                 §      The Honorable Andrew S. Hanen
                                       §
      Defendants.                      §


                                [Proposed] ORDER

      Upon consideration of Defendant Constantinescu’s Motion to Dismiss (ECF No.

262) and the United States’ response, the Motion is DENIED.

      It is so ORDERED at Houston, Texas on this ___ day of ___________, 2023.




                                               ________________________________
                                                      ANDREW S. HANEN
                                               UNITED STATES DISTRICT JUDGE
